           Case 2:11-cr-00096-DC Document 107 Filed 02/24/12 Page 1 of 4


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   PAUL A. HEMESATH
     MICHAEL M. BECKWITH
 3   Assistant U.S. Attorneys
     501 I Street, Suite 10-100
 4   Sacramento, California 95814
     Telephone: (916) 554-2932
 5
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )    CASE NO. 2:11-cr-00096-JAM
                                           )
12                      Plaintiff,         )    STIPULATION AND ORDER
                                           )
13   v.                                    )    DATE: February 28, 2012
                                           )    TIME: 9:30 a.m.
14   ALEJANDRO FLETES-LOPEZ, et al.,       )    COURT: Hon. John A. Mendez
                                           )
15                      Defendants.        )
                                           )
16                                         )
                                           )
17
18        IT IS HEREBY STIPULATED by and between the parties hereto
19   through their respective counsel, Michael Beckwith and Paul Hemesath,
20   Assistant United States Attorneys, attorneys for plaintiff; Arturo
21   Hernandez, attorney for defendant Alejandro Fletes-Lopez; Kenny
22   Giffard and Donald Masuda, attorneys for defendant Irma Gonzalez; Tim
23   Pori, attorney for defendant Orlando Fletes-Lopez; Christopher
24   Haydn-Myer, attorney for defendant Jesus Sanchez-Lopez; Olaf Hedberg,
25   attorney for defendant German Velazquez; Michael Hansen, attorney for
26   defendant Marcela Santamaria; Dina Santos, attorney for defendant
27   Mauricio Portillo; Clemente Jimenez, attorney for defendant
28   Consepcion Carillo; Gilbert Roque, attorney for defendant Guadalupe

                                            1
           Case 2:11-cr-00096-DC Document 107 Filed 02/24/12 Page 2 of 4


 1   Reyes-Ontiveros; and Hayes Gable, III, attorney for defendant Diana
 2   Hernandez-Gonzalez, that the previously-scheduled status conference
 3   date of February 28, 2012, be vacated and the matter set for status
 4   conference on April 17, 2012, at 9:30 a.m.
 5        This request is made jointly by the government and defense in
 6   order to permit time for continued preparation, including
 7   investigation which is currently in progress, and plea negotiations.
 8   Specifically, the government is in the process of providing
 9   additional discovery to defendants.        The parties agree that the
10   interests of justice served by granting this continuance outweigh the
11   best interests of the public and the defendant in a speedy trial.       18
12   U.S.C. § 3161(h)(7)(A).
13        Further, the parties agree and stipulate the ends of justice
14   served by the granting of such a continuance outweigh the best
15   interests of the public and the defendants in a speedy trial and that
16   time within which the trial of this case must be commenced under the
17   Speedy Trial Act should therefore be excluded under 18 U.S.C.
18   sections 3161(h)(7)(A) and (B)(iv), corresponding to Local Codes T2
19   [complex case] and T4 [reasonable time for defense counsel to
20   prepare], from the date of the parties’ stipulation, February 28,
21   2012, to and including April 17, 2012.
22
23   Dated: February 23, 2012                /s/ Paul Hemesath
                                             Paul Hemesath
24                                           Assistant United States Attorney
                                             Counsel for Plaintiff
25
     Dated: February 23, 2012                /s/ Michael E. Hansen
26                                           MICHAEL E. HANSEN
                                             Attorney for Defendant
27                                           MARCELA SANTAMARIA
28

                                            2
           Case 2:11-cr-00096-DC Document 107 Filed 02/24/12 Page 3 of 4


 1   Dated: February 23, 2012                /s/ Ken Giffard
                                             KEN GIFFARD
 2                                           Attorneys for Defendant
                                             IRMA GONZALEZ
 3
     Dated: February 23, 2012                /s/ Christopher Haydn-Myer
 4                                           CHRISTOPHER HAYDN-MYER
                                             Attorney for Defendant
 5                                           JESUS SANCHEZ-LOPEZ
 6   Dated: February 23, 2012                /s/ Arturo Hernandez
                                             ARTURO HERNANDEZ
 7                                           Attorney for Defendant
                                             ALEJANDRO FLETES-LOPEZ
 8
     Dated: February 23, 2012                /s/ Olaf Hedberg
 9                                           OLAF HEDBERG
                                             Attorney for Defendant
10                                           GERMAN GONZALEZ VELAZQUEZ
11   Dated: February 23, 2012                /s/ Dina Santos
                                             DINA SANTOS
12                                           Attorney for Defendant
                                             MAURICIO PORTILLO
13
     Dated: February 23, 2012                /s/ Clemente Jimenez
14                                           CLEMENTE JIMENEZ
                                             Attorney for Defendant
15                                           CONSEPCION CARILLO
16   Dated: February 23, 2012                /s/ Gilbert Roque
                                             GILBERT ROQUE
17                                           Attorney for Defendant
                                             GUADALUPE REYES-ONTIVEROS
18
     Dated: February 23, 2012                /s/ Hayes Gable, III
19                                           HAYES GABLE, III
                                             Attorney for Defendant
20                                           DIANA HERNANDEZ-GONZALEZ
21   Dated: February 23, 2012                /s/ Tim Pori
                                             TIM PORI
22                                           Attorney for Defendant
                                             ORLANDO FLETES-LOPEZ
23
24
25
26
27
28

                                            3
           Case 2:11-cr-00096-DC Document 107 Filed 02/24/12 Page 4 of 4


 1
 2
                                       O R D E R
 3
          The Court, having received, read, and considered the stipulation
 4
     of the parties, and good cause appearing therefrom, adopts the
 5
     stipulation of the parties in its entirety as its order.              Based on
 6
     the stipulation of the parties and the recitation of facts contained
 7
     therein, the Court finds that it is unreasonable to expect adequate
 8
     preparation for pretrial proceedings and trial itself within the time
 9
     limits established in 18 U.S.C. section 3161.         In addition, the Court
10
     specifically finds that the failure to grant a continuance in this
11
     case would deny defense counsel to this stipulation reasonable time
12
     necessary for effective preparation, taking into account the exercise
13
     of due diligence.    The Court finds that the ends of justice to be
14
     served by granting the requested continuance outweigh the best
15
     interests of the public and the defendants in a speedy trial.
16
          The Court orders that the time from February 28, 2012, to and
17
     including April 17, 2012, shall be excluded from computation of time
18
     within which the trial of this case must be commenced under the
19
     Speedy Trial Act, pursuant to 18 U.S.C. sections 3161(h)(7)(A) and
20
     (B)(iv), and Local Codes T2 [complex case] and T4 [reasonable time
21
     for defense counsel to prepare].      It is further ordered that the
22
     February 28, 2012, status conference shall be continued until April
23
     17, 2012, at 9:30 a.m.
24
25   Dated: 2/24/2012                        /s/ John A. Mendez
                                             Hon. John A. Mendez
26                                           United States District Judge
27
28

                                            4
